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   Attorneys for Defendant
13 STEADFAST NETWORKS, LLC
14
                      UNITED STATES DISTRICT COURT
15                CENTRAL DISTRICT COURT OF CALIFORNIA
16                          WESTERN DIVISION
17   ALS SCAN, INC.,                   Civil Action No: 2:16-cv-05051-GW-AFM
18   a Maryland Corporation,
                                       STEADFAST NETWORKS, LLC’S
19                                     APPLICATION TO FILE
     Plaintiff,
20                                     DOCUMENTS UNDER SEAL IN
                                       CONNECTION WITH ITS RESPONSE
21   v.
                                       TO ALS SCAN’S MOTION FOR
22                                     SUMMARY JUDGMENT
     CLOUDFLARE, INC.
23   a Delaware corporation,
                                       Hearing Date: TBD
     et al.
24                                     Hearing Time: TBD
25                                     Place: Courtroom 9D, 9th Fl.
     Defendants
                                              350 West 1st Street
26                                      Los Angeles, CA, 90012
27
                                       Judge: Hon. George H. Wu
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 1             APPLICATION TO FILE DOCUMENTS UNDER SEAL
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     Pursuant to C.D. Cal. Civ. L.R. 79-5.1 and the Court’s Standing Order, Defendant
 3
 4 Steadfast Networks LLC (“Steadfast”) hereby applies for an order allowing it to
 5 file under seal certain information in connection with its Memorandum in
 6
   Response to the Motion for Partial Summary Judgement filed by ALS Scan Inc.
 7
 8 (“ALS”). Specifically, Steadfast seeks an order permitting the underseal filing of
 9
   certain limited portions of the Amended Memorandum in Response to the Motion
10
11 for Partial Summary Judgment (“Memorandum”) and Amended Statement of
12
     Genuine Issues of Fact in Opposition to Plaintiff’s Motion for Summary Judgment
13
14 (“Statement of Genuine Issues”). The Memorandum and Statement of Genuine
15 Issues contain information related to ALS’s number of subscribers as well as the
16
   compensation given to Steve Easton, ALS’s DMCA agent.
17
18         In connection with this Application, Steadfast has publicly filed a version of
19
     the Memorandum and Statement of Genuine Issues with limited redactions of the
20
21 confidential-designated materials,. The complete, unredacted Memorandum and
22 Statement of Genuine Issues are filed under seal concurrently herewith as an
23
   attachment to the O’Brien Declaration.
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 1                                       JOHN L. AMBROGI
 2                                       COLIN T.J. O’BRIEN
                                         PARTRIDGE PARTNERS, P.C.
 3
 4                                          PAUL D. SUPNIK
 5
     Dated: January 16, 2016       By: s/Colin O’Brien
 6
                                            Colin O’Brien
 7
                                            Attorneys for Steadfast Networks, LLC
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 2
 3                                PROOF OF SERVICE
 4
   I, John L. Ambrogi, certify that I am an attorney at law, licensed to practice in
 5 the State of Illinois and I am admitted to appear before the United States
 6 District Court for the Central District of California, and a true copy of the
 7 foregoing document STEADFAST NETWORKS, LLC’S APPLICATION TO
   FILE DOCUMENTS UNDER SEAL IN CONNECTION WITH ITS
 8 RESPONSE TO ALS SCAN’S MOTION FOR SUMMARY JUDGMENT
 9 was served via electronic filing to the following parties in this action via their
   counsel:
10
11         ALS Scan, Inc.
12         Cloudflare, Inc.

13 A true copy of the foregoing document was hand delivered to:
14
   Hon. George H. Wu
15 U.S. District Court
16 350 W. 1st Street
   Courtroom 9D
17
   Los Angeles, CA 90012
18
19 Via attorney service
20         I declare under penalty of perjury under the laws of the United States that
21 the foregoing is true and correct.
22
23
     Dated: January 16, 2018                      s/John L. Ambrogi
24                                                Attorney for Defendant
25                                                Steadfast Networks LLC
26
27
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